                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

THE U5NITED STATES OF AMERICA §
                              §
vs.                           §                     CAUSE NO.: 1:22-CR-15
                              §
ELMER STEWART RHODES, III     §

                  NOTICE TO JOIN MOTIONS OF CO-DEFENDANTS

         COMES NOW the defendant, Elmer Stewart Rhodes, by and through his attorneys,
James Lee Bright and Phillip Linder and hereby notifies the Court of his intention to join
a Motion for New Trial (ECF No. 434), which was previously filed by counsel on behalf
of Kelly Meggs and all co-defendants and Motion for Judgment of Acquittal Pursuant to
Rule 29 (ECF No. 384), which was previously filed by counsel on behalf of Thomas
Caldwell. Although the referenced Motion ECF # 434 appears to include all of the
defendants there was no signature included for Rhodes’ Counsel. Accordingly, the purpose
of this notice is to make clear that Rhodes joins the Motion for New Trial as filed under
ECF No. 434 and Motion for Judgment of Acquittal Pursuant to Rule 29 as filed under
ECF No 384.
                                                    RESPECTFULLY SUBMITTED,


                                                       /S/ PHILLIP A. LINDER
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                                                       /S/ JAMES LEE BRIGHT
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                                                    ATTORNEYS FOR DEFENDANT
NOTICE TO JOIN MOTIONS-RHODES                                              1
                                CERTIFICATE OF SERVICE

         I hereby certify that on January 24, 2023, a copy of the foregoing Amended

Notice to Join Co-Defendants’ Motions was electronically filed with the Clerk of the U.S.

District Court for the District of Columbia via CM/ECF. The same is available for

viewing and downloading upon the following:


AUSA Jeffrey Nestler
AUSA Kathryn L. Rakoczy
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                                                        /S/ PHILLIP A. LINDER
                                                     PHILLIP A. LINDER




NOTICE TO JOIN MOTIONS-RHODES                                                          2
